                                                                                                                                                            Case 1:04-cv-05278-OWW-DLB Document 215 Filed 03/15/06 Page 1 of 3


                                                                                                                                                        1    MICHAEL J. COFFINO (State Bar No. 88109)
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                                                                                                                                                        6    STEEFEL, LEVITT & WEISS
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                                                                                                                                                        9
                                                                                                                                                             Attorneys for Plaintiffs
                                                                                                                                                       10    WAL-MART STORES, INC. and WAL-MART
                                                                                                                                                             REAL ESTATE BUSINESS TRUST
                                                                                   Telephone: (415) 788-0900 · Facsimile: (415) 788-2019




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                                                                                                                                                       12                             UNITED STATES DISTRICT COURT
                                                                                                                                                       13                           EASTERN DISTRICT OF CALIFORNIA
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                                                                                                                                                       14                                    FRESNO DIVISION
                                                                                                                                                       15
                                                                                                                                                             WAL-MART STORES, INC., a                Case No. CIV-F-04-5278 OWW DLB
                                                                                                                                                       16    Delaware Corporation, and WAL-
                                                                                                                                                             MART REAL ESTATE BUSINESS             ORDER REGARDING PLAINTIFFS’
                                                                                                                                                       17    TRUST, a Delaware Statutory Trust,   MOTION TO STRIKE DEFENDANTS’
                                                                                                                                                                                                  SUPPLEMENTAL REPLY IN SUPPORT
                                                                                                                                                       18                    Plaintiffs,          OF MOTION FOR SUMMARY
                                                                                                                                                                                                  JUDGMENT, OR IN THE
                                                                                                                                                       19          v.                             ALTERNATIVE MOTION FOR LEAVE
                                                                                                                                                                                                  TO FILE FURTHER BRIEF IN
                                                                                                                                                       20    CITY OF TURLOCK, TURLOCK             RESPONSE
                                                                                                                                                             CITY COUNCIL, and DOES 1 through
                                                                                                                                                       21    10, inclusive,
                                                                                                                                                       22                    Defendants.             Date:      March 10, 2006
                                                                                                                                                                                                     Time:      2:00 p.m.
                                                                                                                                                       23                                            Ctrm:      3
                                                                                                                                                                                                     Judge:     Hon. Oliver W. Wanger
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                                                                                                                                                               ORDER REGARDING MOTION TO STRIKE, OR FOR LEAVE TO FILE FURTHER RESPONSE
                                                                                                                                                                                     (No. CIV-F-04-5278 OWW DLB)

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                                                                                                                                                        1
                                                                                                                                                                                                       ORDER
                                                                                                                                                        2

                                                                                                                                                        3                 On March 10, 2006 at 2:00 p.m., the Court heard the motion of Plaintiffs
                                                                                                                                                        4    Wal-Mart Stores, Inc. and Wal-Mart Real Estate Business Trust to Strike Defendants’
                                                                                                                                                        5    Supplemental Reply in Support of Motion for Summary Judgment or in the Alternative
                                                                                                                                                        6    for Leave to File Further Brief in Response.
                                                             A PROFESSIONAL CORPORATION, ONE EMBARCADERO CENTER, 30TH FLOOR, SAN FRANCISCO, CA 94111




                                                                                                                                                        7                 Michael J. Coffino of Steefel, Levitt & Weiss, PC, appeared for plaintiffs
                                                                                                                                                        8    and Rick W. Jarvis and Ben Fay of Jarvis, Fay and Doporto, LLP, for defendants. All
                                                                                                                                                        9    counsel appeared telephonically. After oral argument, the Court ordered as follows:
                                                                                                                                                       10                 1.     Wal-Mart may file a response on or before March 24, 2006, to any
                                                                                   Telephone: (415) 788-0900 · Facsimile: (415) 788-2019




                                                                                                                                                       11    arguments contained in the City’s Supplemental Reply Memorandum, filed on February
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                                                                                                                                                       12    27, 2006 (Docket No. 207), that Wal-Mart did not address in its Supplemental
                                                                                                                                                       13    Memorandum filed on February 21, 2006 (Docket No. 204); and
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                                                                                                                                                       14                 2.     Neither side may file any further briefing related to the pending
                                                                                                                                                       15    Motion for summary judgment that the City filed on March 29, 2005 (Docket No. 50).
                                                                                                                                                       16                 IT IS SO ORDERED.
                                                                                                                                                       17
                                                                                                                                                             Dated: March _15, 2006
                                                                                                                                                       18

                                                                                                                                                       19                                                     /s/ OLIVER W. WANGER
                                                                                                                                                                                                              Hon. Oliver W. Wanger
                                                                                                                                                       20                                                     United States District Court Judge
                                                                                                                                                       21

                                                                                                                                                       22    APPROVED AS TO FORM:
                                                                                                                                                       23    JARVIS & FAY & DOPORTO LLP
                                                                                                                                                       24
                                                                                                                                                             Date: March 13, 2006
                                                                                                                                                       25

                                                                                                                                                       26    By:           /s/
                                                                                                                                                                 Rick W. Jarvis
                                                                                                                                                       27    Attorneys for Defendants
                                                                                                                                                             CITY OF TURLOCK and
                                                                                                                                                       28
                                                                                                                                                               ORDER REGARDING MOTION TO STRIKE, OR FOR LEAVE TO FILE FURTHER RESPONSE
                                                                                                                                                                                     (No. CIV-F-04-5278 OWW DLB)                                       2

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                                                                                                                                                        1    TURLOCK CITY COUNCIL
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                                                             A PROFESSIONAL CORPORATION, ONE EMBARCADERO CENTER, 30TH FLOOR, SAN FRANCISCO, CA 94111




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                                                                                                                                                               ORDER REGARDING MOTION TO STRIKE, OR FOR LEAVE TO FILE FURTHER RESPONSE
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